                          Case 5:21-mj-01059-HNJ Document 1 Filed 06/08/21 Page 1 of 9                                                    FILED
                                                                                                                                2021 Jun-08 PM 03:50
AO 442 (Rev. 11/11) Arrest Warrant                                                                                              U.S. DISTRICT COURT
                                                                                                                                    N.D. OF ALABAMA


                                         UNITED STATES DISTRICT COURT
                                                                    for the

                                                           District of&ROXPELD

                  United States of America
                             v.                                        )
                                                                       )        Case No.
                  Dillon Colby Herrington
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                        Dillon Colby Herrington                                                ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment           u Information         u Superseding Information              ;
                                                                                                                          u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition          u Violation Notice          u Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grou;
18 U.S.C. § 1752(a)(2)(4) - Knowingly Engage in any act of Physical Violence Against any Person or Property in a Restricted Building ;
40 U.S.C. § 5104(e)(2)(F) - Willfully and Knowingly Engage in an act of Physical Violence in the Grounds of the Capitol Building ;
18 U.S.C. § 231(a)(3) - Commit or Attempt any act to Obstruct Impede or Interfere with Law Enforcement in the Lawful Performance of his
Official Duties;
18 U.S.C. § 111(a)(1) - Forcibly Assault, Resist, Opposes Impede, Intimidate, or Interfere .
                                                                                                               2021.06.07
Date:         06/07/2021                                                                                       17:31:06 -04'00'
                                                                                                 Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                 Printed name and title


                                                                    Return

           This warrant was received on (date)                             , and the person was arrested on (date)
at (city and state)                                             .

Date:
                                                                                              Arresting officer’s signature



                                                                                                 Printed name and title
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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of &ROXPELD

                  United States of America                              )
                             v.                                         )
                                                                        )      Case No.
                Dillon Colby Herrington
                                                                        )
                    DOB: XXXXXX                                         )
                                                                        )
                                                                        )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021                 in the county of                                         in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                         Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grou,
        18 U.S.C. § 1752(a)(2)(4) - Knowingly Engage in any act of Physical Violence Against any Person or Property in a Restricted
        Building ,
        40 U.S.C. § 5104(e)(2)(F) - Willfully and Knowingly Engage in an act of Physical Violence in the Grounds of the Capitol Building ,
        18 U.S.C. § 231(a)(3) - Commit or Attempt any act to Obstruct Impede or Interfere with Law Enforcement in the Lawful
        Performance of his Official Duties,
        18 U.S.C. § 111(a)(1) - Forcibly Assault, Resist, Opposes Impede, Intimidate, or Interfere .

          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                    Complainant’s signature

                                                                                         Mark A. Singleton, Special Agent
                                                                                                     Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                2021.06.07
Date:                                                                                                           17:31:51 -04'00'
                  06/07/2021
                                                                                                        Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                                   STATEMENT OF FACTS

        Your affiant, Mark A. Singleton, is a Special Agent with the Federal Bureau of
Investigation (FBI) and is presently tasked with investigating criminal activity in and around the
Capitol grounds. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification are allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to
members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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                             Probable Cause Specific to Herrington

        Surveillance from the exterior and interior of the U.S. Capitol Building depicted rioters
inside and outside of the building who were unauthorized to enter and/or be upon the grounds of
the Capitol. While reviewing surveillance footage, law enforcement observed an individual
located on the exterior grounds of the U.S. Capitol Building. The individual was attired in a
camouflage pullover-style jacket with a distinguishable yellow patch on the left arm of the jacket,
camouflage pants, a yellow scarf, and a red hat with the words “Make America Great Again.”

        Surveillance footage captured the individual on two separate occasions attempting to strike
members of law enforcement with objects. The individual was captured throwing a wooden 4”x4”
piece of lumber in the direction of members of law enforcement. At this time, based upon the
surveillance footage reviewed, you Affiant does not believe that any member of law enforcement
was struck by the wooden 4”x4” piece of lumber.

                                             Figure 1




        Additional surveillance captured the individual standing near a metal electrical box. While
standing near the electrical box, the individual appears to have an unknown object in his hands
which he appears to throw in the direction of law enforcement. While standing near the box, the
individual takes hold of a metal barricade and throws the barricade in the direction of law
enforcement. No member of law enforcement was struck with the metal barricade.
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                          Figure 2




                          Figure 3
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                                           Figure 4




       An FBI tip line was established for the purpose of receiving tips from the public who may
have knowledge of the unidentified individual.

                                           Figure 5
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       On May 6, 2021, a complainant (“Witness-1”) provided a tip to the FBI regarding his/her
knowledge of the individual depicted in the photos in Figure 5. Witness-1 observed the
photographs depicted in Figure 5 and positively identified the individual as Dillon
HERRINGTON. According to Witness-1, HERRINGTON lives in Madison, Alabama.
Witness-1 knows HERRINGTON and has known HERRINGTON for approximately 17 years.
Witness-1 is a member of law enforcement and is familiar with HERRINGTON. Witness-1 had
no knowledge that HERRINGTON traveled to the District of Columbia to attend the Trump rally
and did not speak with HERRINGTON after January 6, 2021.

       Your Affiant obtained the driver’s license of an individual identified as HERRINGTON.
The license indicated that HERRINGTON’s address is
      . Upon comparing the driver’s license photograph of Dillon HERRINGTON to the
individuals depicted in Figures 1-5, your Affiant has reason to believe that the person depicted in
Figures 1-5 is likely HERRINGTON.

        Your Affiant has also determined that, at approximately 5:00 p.m. on January 6, 2021, the
District of Columbia Metropolitan Police Department located and detained an individual who
identified himself as Dillon HERRINGTON on the grounds outside of the Capitol Building.
Upon observing HERRINGTON, officers noted that HERRINGTON had a knife protruding
from his rear pant pocket. Concerned about the safety of the crowd and officers, D.C. officers
elected to detain HERRINGTON. After obtaining HERRINGTON’s contact information,
officers placed the knife in HERRINGTON’s backpack before escorting him off the premises.

        During his detention, HERRINGTON provided the officers with his Alabama driver’s
license, bearing license number xxxx166. HERRINGTON also provided his cellular telephone
number, xxx-xxx-2269, and provided his address as                                                  .
A review of the driver’s license picture confirmed that HERRINGTON was in fact Dillon C.
HERRINGTON. After collecting HERRINGTON’s personal contact information, officers
released HERRINGTON because the extent of his conduct was unknown at the time. At the time
of the detention, the officers were not aware of the assaults described above. Body worn camera
captured from the camera of a D.C. Metropolitan Officer captured HERRINGTON providing the
officer with his personal identifying information including his name, address, and date of birth.
Your Affiant has compared the facial features, body build, and clothing of the individual in Figures
1-5, and they closely match HERRINGTON’s appearance in the BWC footage, as shown in
Figure 6. HERRINGTON is observed wearing a military-style camouflage jacket with a yellow
patch, a multi-colored scarf, and a red “Make America Great Again” hat. HERRINGTON was
also in possession of a blue backpack.

       Your Affiant has reviewed cellular telephone records obtained during this investigation.
As such, your Affiant believes that HERRINGTON was in fact on the grounds of the U.S. Capitol
Building, although he did not enter the U.S. Capitol Building.
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                                              Figure 6




       At no time was HERRINGTON authorized to be inside the U.S. Capitol complex.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
HERRINGTON violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do; (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engage in any
act of physical violence against any person or property in any restricted building or grounds, or to
attempt or conspire to do any of the foregoing. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that HERRINGTON violated
40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
physical violence in the Grounds or any of the Capitol Buildings.
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        Your affiant submits there is probable cause to believe that HERRINGTON violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Finally, your affiant submits there is probable cause to believe that HERRINGTON
violated 18 U.S.C. § 111(a)(1), which makes it crime to forcibly assault, resist, opposes impede,
intimidate, or interfere with any person designated in section 1114 of Title 18 while engaged in or
on account of the performance of official duties. For purposes of Section 1114 of Title 18, a
designated person means any officer or employee of the United States while engaged in the
performance of official duties, or any person assisting such an officer or employee in the
performance of such duties.


                                                     _________________________________
                                                     Mark A. Singleton
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this WKday of -XQH 2021.

                                                                     2021.06.07
                                                     ___________________________________
                                                       ___________17:34:36 -04'00'
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                                                     U.S. MAGISTRATE JUDGE
